

Franklin v New Hi-Tech Corp. (2025 NY Slip Op 50554(U))



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Franklin v New Hi-Tech Corp.


2025 NY Slip Op 50554(U)


Decided on April 17, 2025


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on April 17, 2025
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Hagler, P.J., Brigantti, Tisch, JJ.



570091/25

Ken Lamonte Franklin, Plaintiff-Appellant,
againstNew Hi-Tech Corporation, Defendant-Respondent.




Plaintiff appeals from a judgment of the Small Claims Part of the Civil Court of the City of New York, New York County (Jeanine R. Johnson, J.), entered September 11, 2023, after trial, in favor of defendant dismissing the action.




Per Curium.
Judgment (Jeanine R. Johnson, J.), entered September 11, 2023, affirmed, without costs.
A judgment rendered in the Small Claims Part of the Civil Court will be sustained on appeal unless it is shown that "substantial justice has not been done between the parties according to the rules and principles of substantive law" (CCA 1807; see Williams v Roper, 269 AD2d 125 [2000], lv dismissed 95 NY2d 898 [2000]). Applying that limited standard of review here, we find no basis to substitute our judgment for that of the trial court in dismissing the action. The evidence, fairly interpreted, supports the court's determination that plaintiff failed to establish that the repair services made by defendant to the vintage tape deck were defective. We have considered plaintiff's remaining contentions and find them to be without merit.
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concurDecision Date: April 17, 2025







